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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                              MIDLAND-ODESSA DIVISION

United States of America                          §
                                                  §
vs.                                               §      NO: MO:24-M -00053(1)
                                                  §
(1) Mario Aldaz                                   §


                                              ORDER

       In accordance with Federal Rule of Criminal Procedure 5(f), as amended by the Due

Process Protections Act, Pub. L. No. 116-182, 134 Stat. 894 (Oct. 21, 2020), the Government is

hereby notified of, and ordered to comply with, the prosecutor’s disclosure obligations under

Brady v. Maryland, 373 U.S. 83 (1963), and its progeny. The Government is further notified of

the possible consequences of violating this Order or those disclosure obligations, which may

include, but are not necessarily limited to, the delay of trial or other proceedings, the exclusion of

evidence, the giving of adverse jury instructions, the grant of new trial, the dismissal of an action,

or a finding of contempt.



IT IS SO ORDERED this 5th day of March, 2024.




                                                      ______________________________
                                                      RONALD C. GRIFFIN
                                                      UNITED STATES MAGISTRATE JUDGE
